         Case: 3:16-cv-00861-wmc Document #: 32 Filed: 10/20/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

 RONNIE LEE THUMS,

         Petitioner,
                                                    Case No. 16-cv-861-wmc
    v.

 LARRY FUCHS, Warden,
 Columbia Correctional Institution,

         Respondent.


                            JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case with prejudice.




         /s/                                             10/20/2020
         Peter Oppeneer, Clerk of Court                        Date
